Case 3:24-cv-02311-TSH   Document 57-5   Filed 10/08/24   Page 1 of 2




             EXHIBIT 5
             Case 3:24-cv-02311-TSH          Document 57-5          Filed 10/08/24      Page 2 of 2




 This site is no longer being updated. For 2020 Census data,
 please see the US Census Bureau website



Selected Census data from the San Francisco Bay
Area -- provided by the Metropolitan
Transportation Commission and the Association
of Bay Area Governments.
Featuring Census data from 1860-2010.

Spanning from the wine country to Silicon Valley, the Bay Area
has a population of over 7 million people in nine counties and
101 cities.



               California |   Bay Area |   Counties |   Cities |   Tracts/Blocks |   Transportation

             Historical Data |   Maps |    Links |   FAQ |   Home |     Contact |    MTC |     ABAG

                    MTC-ABAG Library, 375 Beale Street, Suite 800, San Francisco, CA 94105
                                     415-778-5236, library@mtc.ca.gov
